    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 1 of 28




                                  United States District Court
                                 Southern District of New York


                                                  03 MDL 1570 (RCC)
In re Terrorist Attacks on September 11, 2001
                                                  ECF Case


This document relates to:
As to Samir Salah:
        Burnett, et al., v. al Baraka Inv. & Dev. Co., et al., Case No. 03-CV-9849(RCC)
        Federal Ins. Co., et al. v. Al Qaida, et al., Case No 03-CV-6978 (RCC)

As to Abdul Hamid Abu Sulayman:
       Burnett, et al., v. al Baraka Inv. & Dev. Co., et al., Case No. 03-CV-9849(RCC)
       Euro Brokers, Inc., et al., v. Al Baraka Inv. & Dev. Corp., et al. 04 CV 7279 (RCC)
       World Trade Center Properties, LLC, et al v, Al Baraka Inv. & Dev. Corp., et al. 04 CV
       7280 (RCC)

        PLAINTIFFS’ OPPOSITION TO THE MOTIONS OF DEFENDANTS
            SAMIR SALAH AND ABDUL HAMID ABU SULAYMAN
                    TO SET ASIDE DEFAULT JUDGMENTS

      Ronald L. Motley, Esquire                           Sean Carter, Esquire
      Jodi Westbrook Flowers, Esquire                     J. Scott Tarbutton, Esquire (JT-3496)
      Donald Migliori, Esquire                            COZEN O’CONNOR PC
      Robert T. Haefele, Esquire                          1900 Market Street
      Michael E. Elsner, Esquire (ME-8337)                Philadelphia, PA 19103-3508
      Justin B. Kaplan, Esquire                           Telephone: (215) 665-2105
      MOTLEY RICE LLC                                     Fax (215) 701-2105
      28 Bridgeside Boulevard
      Mount Pleasant, SC 29465                            Counsel for the Federal Insurance Plaintiffs
      Telephone: (843) 216-9000
      Fax (843) 216-9450

      Jayne Conroy, Esquire (JC-8611)
      Paul J. Hanly, Jr., Esquire (PH-5486)
      Andrea Bierstein, Esquire (AB-4618)
      HANLY CONROY BIERSTEIN
          SHERIDAN FISHER & HAYES LLP
      112 Madison Avenue
      New York, NY 10016-7416
      Telephone: (212) 784-6400
      Fax: (212) 784-6420205

      Counsel for the Burnett, WTCP and EuroBrokers
      Plaintiffs
       Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 2 of 28




                                                    TABLE OF CONTENTS
                                                                                                                                          Page

Introduction ............................................................................................................................... 1

Statement of Facts ...................................................................................................................... 2

Legal Arguments ......................................................................................................................... 10

     I. Defendant Has Failed to Meet His Burden of Establishing He Is
        Entitled To An Order Setting Aside The Default Judgments.......................................... 10

           A. The default judgments entered against defendant should not be
              set aside based on Rule 60(b).................................................................................... 10

           B. The default judgments entered against defendant should not be
              set aside based on Rule 55(c) .................................................................................... 16

                      1. Willfulness .................................................................................................... 16

                      2. Prejudice........................................................................................................ 16

                      3. Existence of Meritorious Defenses ............................................................... 18

Conclusion................................................................................................................................... 22
      Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 3 of 28




                                              TABLE OF AUTHORITIES
                                                                                                                                Page


Fed. R. Civ. P. 55 ............................................................................................................. Passim

Fed. R. Civ. P. 60 ............................................................................................................. Passim

Aberson v. Glassman,
70 F.R.D. 683 (S.D.N.Y. 1976) .................................................................................................11

Armitac USA Cosmetics v. Maybelline Co.,
906 F. Supp. 850, 854-55 (E.D.N.Y. 1995) ................................................................................10

Atlantic Steamers Supply Co. v. Int’l Maritime Supplies Co.,
268 F. Supp. 1009 (S.D.N.Y.) ...................................................................................................10

Bank of Montreal v. Mitsui Mfgs. Bank,
1992 WL 79293, at *3 (S.D.N.Y. April 7, 1992)........................................................................11

Brown v. DeFilippis,
695 F. Supp. 1528 (S.D.N.Y. 1988) ...........................................................................................11

Davis v. Musler,
713 F.2d 907, 915 (2d Cir.1983) .......................................................................................... 10, 15

Enron Oil Corp. v. Diahuhara,
10 F.3d 90, 96 (2d Cir. 1993).....................................................................................................14

Frost Belt International Recording Enterprises, Inc. v. Cold Chillin’ Records,
758 F. Supp. 131, 135-36 (S.D.N.Y. 1990).................................................................................10

General Contracting and Trading Co. LLC v. Interpole, Inc.,
899 F.2d 109, 112 (1st Cir. 1990)...............................................................................................12

H.F. Livermore Corp. v. Aktiengesellschaft Gebruder Loepfe,
432 F.2d 689, 691 (D.C.Cir.1970) .............................................................................................10

Jackson v. Beech,
636 F.2d 831, 836 (D.C.Cir.1980) .............................................................................................10

Lavespere v. Niagara Mach. & Tool Works, Inc.,
910 F.2d 167 (5th Cir. 1990), reh’g denied, 920 F.2d 259, cert. denied, 510 U.S. 859..................13



                                                                  ii
      Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 4 of 28




Maine National Bank v. F/V Explorer,
663 F. Supp. 462, 466 (D. Me. 1987) .........................................................................................12

Marziliano v. Heckler,
728 F.2d 151 (2d Cir. 1984)........................................................................................... 11, 13, 14

McKenzie v. Wakulla County,
89 F.R.D. 444 (N.D. Fla. 1981).................................................................................................10

Mullane v. Central Hanover Tr. Co.,
339 U.S. 306, 314 (1950)........................................................................................................... 17

New York v. Green,
420 F.3d 99 (2d Cir. 2005).........................................................................................................14

Sears, Sucsy & Co. v. Insurance Co. of North America,
392 F.Supp. 398, 411 (N.D. Ill. 1974)......................................................................................... 9

S.E.C. v. McNulty,
137 F.3d 732 (2d Cir. 1998)........................................................................................................ 9

S.E.C. v. Tome, 833 F.2d 1086, 1089 (2d Cir. 1987) ...................................................................17

Sony Corp. v. Elm State Electronics,
800 F.2d 317, 319 (2d Cir. 1986) ...............................................................................................10

Sony Corp. v. S.W.I. Trading, Inc.,
104 F.R.D. 535 (S.D.N.Y. 1985) ......................................................................................... 10, 12

In re Suprema Specialties,
330 B.R. 40, 52-53 .....................................................................................................................14

State Street Bank & Trust Co. v. Inversiones Errazuriz Limitada,
374 F.3d 158, 177 (2d Cir. 2004) ..........................................................................................9, 13

In re Terrorist Attacks on September 11, 2001,
349 F.Supp.2d 765, 824-825 (S.D.N.Y. 2005) ............................................................................16

United Bank of Kuwait PLC v. Enventure Energy Enhanced Oil Recovery Assocs.,
755 F. Supp. 1195, 1205 (S.D.N.Y. 1989)..................................................................................11

U. S. v. 1,550.44 Acres of Land, More or Less, in McLean County,
State of N. D., 369 F.Supp. 1078 (N.D. 1974) ............................................................................14



                                                                   iii
      Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 5 of 28




U.S. v. Bank of New York,
14 F.3d 756, 759 (2d Cir. 1994) .................................................................................................. 9

U. S. v. Cirami,
563 F.2d 26 (2d Cir. 1977).......................................................................................................... 9

Waifersong, Ltd. Inc. v. Classic Music Vending,
976 F.2d 290, 292 (6th Cir. 1992)..............................................................................................11

In re Wright, 247 F.Supp.
648 (E.D. Mo. 1965)..................................................................................................................13

Zuelzke Tool & Engineering Co. v. Anderson Die Castings Inc.,
129 F.R.D. 532, 534 (E.D. Wis. 1990).......................................................................................13




                                                                  iv
     Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 6 of 28




                                              INTRODUCTION

        Pursuant to Fed. R. Civ. P. 55(c) and/or 60(b), defendants Samir Salah and Abdul

Hamid Abu Sulayman (“defendants”), move to reopen default judgments entered against them

by the Court on April 7, 2006.1 In support of their motion, the defendants have relied solely

upon unsupported and self-serving claims that, because they were served by publication in

accord with both the Federal Rules of Civil Procedure in addition to Orders issued by this

Court, they were never made aware of this pending litigation against them until after the

entry of the Court’s default judgment.

        Defendants’ unsupported claims are particularly suspect in light of other facts that the

defendants fail to mention – specifically, that both of the defendants have longstanding

relationships with a number of individual defendants and are, themselves, high-ranking

officers in certain corporate defendants in this litigation, and many of those individuals and

corporations are represented by the very same law firm that represents the moving defendants

and appeared in this litigation as early and January 2005. Those facts, coupled with the fact

that, when this litigation was filed and throughout its pendency, it has received widespread

national and international news coverage above and beyond the service publication, cast grave

and unaddressed doubt on the defendants’ claim that they knew nothing of this case.

        Moreover, the defendants have never offered any explanation for why, even after

default judgments were entered against them, they failed to act in any meaningful manner

until many months later, or why the issue of lifting the default judgments was only recently


1
  Defendant Salah has moved in the Burnett and Federal Insurance cases. Defendant Sulayman has moved in the
Burnett, EuroBrokers and WTCP cases. Because the arguments of both defendants are essentially identical for both
defendants in each of the cases plaintiffs are submitting a single consolidated brief to address both defendants’
requests in each of the cases in which they have moved.
     Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 7 of 28




brought before this Court’s attention in this motion, nearly a year after the default judgments

were entered.

         Under the facts presented, the defendants have failed – through the issuance of

unsupported and self-serving statements – to satisfy their burden of setting forth facts that

would warrant setting aside the default judgments at issue Accordingly, defendants’ motions

to life these default judgments should be denied.

                                            STATEMENT OF FACTS

         The defaults challenged in this motion pertain to four cases currently consolidated

under MDL proceedings in this Court. On August 15, 2002, the original Complaint was filed

in Burnett, et al. v. Al Baraka Inv. & Dev. Corp., et al., Case No. 03-CV-9849 (RCC) and on

November 22, 2002 the Third Amended Complaint was filed.2 On September 10, 2003, the

original Complaint was filed in Federal Ins. Co., et al. v. Al Qaida, et al., Case No. 03-CV-6978

(RCC) and an Amended Complaint was filed on March 10, 2004. Furthermore, on September

10, 2004, the Complaints were filed in Euro Brokers, Inc., et al. v. Al Baraka Inv. & Dev. Corp.,

et al., Case No. 04-CV-7279 (RCC), and World Trade Center Properties, LLC, et al. v. Al Baraka

Inv. & Dev. Corp., et al., Case No. 04-CV-7280 (RCC).

         By Orders of this Court, service by publication was approved and publication in

English was issued in the USA Today newspaper in the United States on December 23, 2004,

2
 The Burnett case was originally filed in the United States District Court for the District of Columbia as Burnett, et
al. v. Al Baraka Inv. & Dev. Corp., et al., Case No. 02-CV-1616 (JR). In an order dated December 9, 2003, the
Judicial Panel on Multi-District Litigation transferred the case to the United States District Court for the
Southern District of New York for multidistrict litigation coordination. Upon its transfer to the Southern
District of New York, the case assigned to Judge Richard Conway Casey and re-assigned docket number 03-CV-
9849 (RCC). In addition to the referenced Third Amended Complaint, the Burnett plaintiffs have filed various
other amendments, including the amendment that added defendant Samir Salah, which plaintiffs sought to file on
December 31, 2004, but due to problems encountered with the Court’s ECF system had to be re-filed on January
3, 2005.


                                                          2
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 8 of 28




December 30, 2004, January 6, 2005, and January 13, 2005. Publication in English was issued

in the International Herald Tribune on December 22, 2004, December 27, 2004, January 5,

2005, and January 10, 2005. Finally, publication in Arabic was issued in the London-based Al-

Quds Al-Arabi, with its wide circulation in the Middle East, on December 23, 2004, December

30, 2004, January 6, 2005, and January 13, 2005. See Declaration of Robert T. Haefele at ¶ 3.

Accordingly, the defendants were obligated to file responsive pleadings within 120 days after

service. Defendants claim, however, that they were not aware of the complaints filed against

them because they never read the notice that was published, pursuant to this Court’s order, in

the three national and international publications.

       The defendants failed to appear and/or file timely responsive pleadings to plaintiffs’

complaints. After giving the defendants more than a year to appear, on September 29, 2005,

the Federal Insurance plaintiffs sought orders entering default judgments, followed by similar

requests by the Burnett plaintiffs on April 7, 2006 and the EuroBrokers and WTCP plaintiffs on

May 12, 2006, which this Court granted and entered onto the Court’s docket on April 7, 2006

(Burnett and Federal Insurance) and May 12, 2006 (EuroBrokers and WTCP). It is from these

Orders that defendants now, tardily, seek relief.

       On July 18, 2006, defendants’ counsel asked the Burnett plaintiffs’ counsel to agree to

set aside the default judgments. On August 29, 2006, defendants’ counsel made a similar

request to counsel for the Federal Insurance plaintiffs concerning defendant Salah. In both

instances, plaintiffs’ counsel indicated a willingness to consider the defendants’ requests

provided the defendants could offer some reasonable explanation as to why they had waited

so long to address either the Complaints or the default judgments. The first response to



                                                3
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 9 of 28




defendants’ counsel’s request from the Burnett plaintiffs’ counsel was to ask defendants merely

to explain how they had received notice, including why they had received it later rather than

earlier. Later, plaintiffs’ counsel in Federal Insurance made similar inquiries, asking

defendants’ counsel to have the defendants explain why they had not been aware of the action

earlier. In a letter dated September 28, 2006, counsel for Federal Insurance, writing with the

consent of Burnett counsel, concerning both defendants Salah and Sulayman, advised

defendants’ counsel that plaintiffs would consider vacating the defaults if the defendants

would simply address satisfactorily the following limited number of issues that would shed

some light on how it was possible that they had never learned they had been sued:

     (1)   Defendants’ places of residence between the dates the Complaints were filed and
           the present;
     (2)   Defendants’ physical location when the notices of the lawsuits were published in
           the International Herald Tribune, Al Quds al Arabi and USA Today newspapers;
     (3)   Any employment positions Defendants held between the dates the Complaints
           were filed and the present;
     (4)   Any positions Defendants held as an executive or member of the board of directors
           of any companies between the dates the Complaints were filed and the present;
     (5)   Whether Defendants have been in contact with any other parties named as
           defendants in any of the consolidated MDL cases since the date the Complaints
           were filed;
     (6)   Whether Defendants have been in contact with counsel for any defendant in any of
           the consolidated cases since the Complaints were filed;
     (7)   Whether Defendants were aware that any companies or organizations with which
           they were at one time affiliated had been named as defendants in any of the
           consolidated MDL cases;
     (8)   Whether Defendants received any information regarding the pendency of any of
           the consolidated MDL cases, regardless of whether they were aware of their status
           as defendants in those cases;
     (9)   The date on which Defendants first became aware of their status as defendants in
           any of the consolidated MDL cases; and




                                                 4
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 10 of 28




     (10) The manner in which they first became aware of their status as defendants in any
          of the consolidated MDL cases.
See Haefele Dec. at ¶¶ 4-5.

Despite their burden of explaining why they had not acted earlier, counsel for defendants

rejected both opportunities to explain the defendants’ failure to respond in a timely manner.

Rather, they waited seven months from the date they first approached plaintiffs’ counsel –

months during which there is no dispute that they and their counsel were aware not only of

the lawsuits, but of the default judgments – and finally, on February 21, 2007, filed their

motions to vacate the default judgments entered against them. See Haefele Dec. at ¶ 6.

       The defendants’ submissions in support of their motions to vacate the default

judgments against them are barren of any substantive evidence to support their contentions

that they did not know of this lawsuit. The only “evidence” submitted are near-boilerplate

declarations which, particularly under the circumstances of this case and these defendants,

lack any value.

       As noted above, defendants’ motions ignore substantial facts that lead squarely to the

conclusion that both of these defendants, contrary to their bald statements, were aware of the

existence of this litigation which was the subject of national and international press accounts

not only in the three publications that were the vehicle for the formal notice pursuant to the

Court’s Orders, but also through other substantial national and international press accounts

that would likely have called this litigation to the attention of the defendants

       Both Salah and Sulayman hold official positions with several of the other defendants in

this litigation, several who are represented by the same lawyers now representing Salah and

Sulaymen. More specifically, both Salah and Defendant Abdul Hamid Abu Sulayman are



                                                5
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 11 of 28




officers of the SAAR Foundation, whose Virginia offices were among those that the FBI and

U.S. Custom’s officials raided in March 2002 and from which seized records are reported to

have revealed a pattern of multi-layered transactions that were designed to confuse law-

enforcement authorities and keep them off the money trail. Of $54 million dollars raised by

the SAAR Foundation ostensibly for "charity," $26 million went to the Isle of Man in the

Irish Sea, a notorious location for drug runners and money laundering. Only $20 million

made its way to SAFA Group charities. According to David Kane, the federal agent who led

the raid, SAAR/SAFA's intent was "to route money through hidden paths to terrorists, and

to defraud the United States by impeding, importing, obstructing, and defeating the lawful

functions of the IRS." See Haefele Dec. at ¶ 7.

       In addition, Salah is a founder and board member of, and Sulayman is also an officer

of, Safa Trust (another client of defendants’ counsel), another one of the Herndon, Virginia

entities that the FBI raided in March 2002. Other co-officers of Safa Trust along with both

defendants are defendants Jamal Barzinji, Yaqub Mirza, Ahmed Totonji, and Hisham al Talib,

which are all also represented by the same counsel. Safa Trust shares the same address as the

following entities that are or have been defendants in this litigation, African Muslim Agency,

Grove Corporate, Mar-Jac Investments, Mena Corporation, Muslim World League, Reston

Investments, Saar Foundation, Sanabel al Kheer, Sana-Bell, Inc., Sterling Management Group,

and York Foundation. See Haefele Dec. at ¶ 8.

       Defendant Salah has also been an officer for two entities that have been designated as

terrorist organizations. Salah has been the treasurer for Taibah International, whose Bosnia

branch has been designated by the U.S. Office of Foreign Asset Control (“OFAC”) as a



                                                  6
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 12 of 28




Specially Designated Global Terrorist (“SDGT”) based on evidence that Taibah funneled

money to al Qaida. See Haefele Dec. at ¶ 9. Salah has also managed, been the treasurer for,

and is reported to have helped establish Bank al Taqwa in the Bahamas, which is among those

entities designated by OFAC as an SDGT. See Haefele Dec. at ¶ 9. Furthermore, according

to White House statements, “Bank al Taqwa has provided advice and cash transfer

mechanisms for al-Qaida and other radical Islamic groups.” See Haefele Dec. at ¶ 9.

       Salah is also an officer of Mar-Jac Investments, another defendant represented by the

same counsel as defendants. Other co-officers of Mar-Jac Investments along with defendant

Salah are defendants Yaqub Mirza and M. Omar Ashraf, who are also represented by the same

counsel. Mar-Jac Investments shares the same address as the following entities that have been

defendants in this litigation, African Muslim Agency, Grove Corporate, Mena Corporation,

Muslim World League, Reston Investments, Saar Foundation, Safa Trust, Sanabel al Kheer,

Sana-Bell, Inc., Sterling Management Group, and York Foundation. See Haefele Dec. at ¶ 10.

       Salah has also been a board member of Amana Mutual Funds with, among others,

Iqbal Unus, Jamal Barzinji, and Yaqub Mirza, other defendants who have appeared in this

litigation through the same counsel and have moved to dismiss, rather than having default

judgments entered against them. According to the Amana Mutual 2004 and 2005 Prospectuses

(filed with the SEC on August 18, 2004 and August 10, 2005), the audit committee, on which

both Salah and Unus sat, held at least three meetings during those fiscal years. See Haefele

Dec. at ¶ 11.

       Defendant Sulayman is or was recently chairman of the board, president, trustee, and

was a founding member of the Herndon, Virginia-based Defendant, International Institute of



                                               7
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 13 of 28




Islamic Thought (“IIIT”), which is also a DLA Piper client and one of the offices that the FBI

and U.S. Customs officials raided in March 2002 and from which seized records are reported

to have revealed a pattern of multi-layered transactions that were designed to confuse law-

enforcement authorities and keep them off the money trail. See Haefele Dec. at ¶ 12.

       Defendant Sulayman is also an agent for York Foundation, another defendant in the

litigation that is represented the same counsel as defendants Salah and Sulayman. York

Foundation is yet other of the Herndon, Virginia entities that the FBI raided in March 2002

and which shares the same address as many of the other entities that have been defendants in

this litigation. See Haefele Dec. at ¶ 13.

       Both of the defendants are represented by DLA Piper U.S. LLP – the same firm that

represents the SAAR Foundation, Safa Trust, IIIT, Mar-Jac Investments, York Foundation,

M. Omar Ashraf, Jamal Barzinji, M. Yaqub Mirza, Ahmed Totonji, and Iqbal Unus, as well as

African Muslim Agency, Grove Corporate, Mena Corporation, Muslim World League,

Reston Investments, Sanabel al Kheer, Sana-Bell, Inc., and Sterling Management Group – the

very groups and individuals with which defendants are affiliated and/or with whom they hold

executive or director positions. Attorneys from DLA Piper have represented this multitude

of other defendants in this litigation since at least March 12, 2004, when they appeared for,

inter alia, at least four entities on which these two defendant have held various official

positions – including ITTT, Mar-Jac Investments, Safa Trust, and York Foundation – and at




                                                8
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 14 of 28




least five of both defendants’ colleagues, M. Omar Ashraf, Jamal Barzinji, M. Yaqub Mirza,

Ahmed Totonji, and Iqbal Unus.3 See Haefele Dec. at ¶ 14.

        It is simply not credible that, while the entities on whose boards these defendants sat

were retaining DLA Piper to represent them in this lawsuit and while their colleagues in those

organizations were retaining the same lawyers to appear in this case, and while DLA Piper

was actively litigating this case on behalf of those organizations and those colleagues, both

Salah and Sulayman remained entirely unaware (a) that they were also named as defendants in

this lawsuit; (b) that their names were included in the list of names submitted to this Court in

connection with plaintiffs’ application for leave to serve by publication; and (c) that their

names in fact appeared in the notices published in USA Today, the International Herald

Tribune, and Al Quds al Arabi

        Moreover, even after the default judgments were entered on April 7, 2006, the

defendants did not contact plaintiffs’ counsel until more than three months later when their

lawyer contacted Burnett plaintiffs’ counsel in mid-July 2006 and Federal Insurance plaintiffs’

counsel in late-August 2006 and then never brought their issue to the court’s attention until

February 2007, nearly a year after the default judgments had been entered.

        Under the circumstances, defendant’s simple, unsupported, self-serving statements fail

to satisfy the defendants’ burden of setting forth facts necessary to warrant setting aside the

default judgments. Accordingly, defendant’s application should be denied.




3
 On March 12, 2004, attorneys now with DLA Piper filed motions requesting pro hac admissions to represent
these and other defendants, though at the time they were with the firm of Gray, Cary, Ware & Freidenrich LLP


                                                     9
     Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 15 of 28




                                      LEGAL ARGUMENTS

I.     Defendant Has Failed to Meet His Burden of Establishing
       He Is Entitled To An Order Setting Aside The Default Judgments

       Pursuant to Rule 55(c), “For good cause shown the court may set aside an entry of

default and, if a judgment by default has been entered, may likewise set it aside in accordance

with Rule 60(b).” Because the defendants have failed to meet the standard set forth in either

Rule 55(c) or 60(b), the court should reject defendant’s request to set aside the court’s orders

granting default judgment.

       A.      The default judgments entered against defendant should not be set aside
               based on Rule 60(b).

       Rule 60(b)(1) provides the standard for setting aside a default judgment. Rule 60(b)(1)

provides: “On motion and upon such terms as are just, the court may relieve a party ... from a

final judgment ... for ... mistake, inadvertence, surprise, or excusable neglect....” The rule

applies only in proper cases – that is, only in cases involving extraordinary circumstances or

extreme hardship. U.S. v. Bank of New York, 14 F.3d 756, 759 (2d Cir. 1994); U. S. v. Cirami,

563 F.2d 26 (2d Cir. 1977), and not where the rule by its very terms precludes application.

Sears, Sucsy & Co. v. Insurance Co. of North America, 392 F.Supp. 398, 411 (N.D. Ill. 1974).

More specifically, it is not to be used where, as here, the conduct of the party seeking to

employ the rule has acted without diligence, with willful misconduct, or without explanation.

See State Street Bank & Trust Co. v. Inversiones Errazuriz Limitada, 374 F.3d 158, 177 (2d Cir.

2004) (“When a party demonstrates a lack of diligence in defending a law suit, a court need not

set aside a default judgment.”); S.E.C. v. McNulty, 137 F.3d 732 (2d Cir. 1998) (default may




                                                10
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 16 of 28




have been willful where the conduct of counsel or the litigant was not satisfactorily

explained).

       On a motion to set aside a default judgment, the defaulting party carries the burden

and must come forward with some explanation for the default; a party’s failure to provide

such an explanation precludes a finding of excusable neglect. Armitac USA Cosmetics v.

Maybelline Co., 906 F. Supp. 850, 854-55 (E.D.N.Y. 1995); see, e.g., Sony Corp. v. Elm State

Electronics, 800 F.2d 317, 319 (2d Cir. 1986); Frost Belt International Recording Enterprises, Inc.

v. Cold Chillin’ Records, 758 F. Supp. 131, 135-36 (S.D.N.Y. 1990). Affidavits containing only

the barest of conclusory statements, as the defendants submitted here, do not satisfy the

threshold requirement of demonstrating excusable neglect. See Atlantic Steamers Supply Co. v.

Int’l Maritime Supplies Co., 268 F. Supp. 1009 (S.D.N.Y.) (defendant’s affidavit containing two

or three conclusory statements was insufficient to relieve defendant from default).

       When a defendant’s actions or inactions resulting in default are willful or unexplained,

as they are here, default judgment is appropriate and even necessary to ensure functioning of

the judicial process. The defendants should not be permitted to avoid or delay the plaintiffs’

right to judicial resolution of a dispute by ignoring the proceedings. McKenzie v. Wakulla

County, 89 F.R.D. 444 (N.D. Fla. 1981). Furthermore, “when the adversary process has been

halted because of an essentially unresponsive party,” default judgment is appropriate not only

to protect the judicial process, but also to protect the non-defaulting party from “interminable

delay and continued uncertainty as to his rights.’” Sony Corp. v. S.W.I. Trading, Inc., 104

F.R.D. 535 (S.D.N.Y. 1985); Jackson v. Beech, 636 F.2d 831, 836 (D.C.Cir.1980) (quoting H.F.




                                                11
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 17 of 28




Livermore Corp. v. Aktiengesellschaft Gebruder Loepfe, 432 F.2d 689, 691 (D.C.Cir.1970) (per

curiam)).

        The Second Circuit has construed Rule 60(b)(1) to include a three-part test: “(1)

whether the default was willful; (2) whether defendant has a meritorious defense; and (3) the

level of prejudice that may occur to the non-defaulting party if relief is granted.” Davis v.

Musler, 713 F.2d 907, 915 (2d Cir.1983). The threshold question in the assessment concerns

the question of the defendant’s culpability; if the moving party fails to establish a right to

relief on this ground, the court need not even assess the remaining two factors.4 Bank of

Montreal v. Mitsui Mfgs. Bank, 1992 WL 79293, at *3 (S.D.N.Y. April 7, 1992); United Bank of

Kuwait PLC v. Enventure Energy Enhanced Oil Recovery Assocs., 755 F. Supp. 1195, 1205

(S.D.N.Y. 1989). The Sixth Circuit has explained the relative weight of the factors this way:

        [W]hile it may be argued that the three factors are to be “balanced” by the court
        in determining whether to set aside an entry of default, balancing is
        demonstrably inappropriate when a court initially proceeds, as in the instant
        case, under Rule 60(b)(1). That is because the rule mandates that a defendant
        cannot be relieved of a default judgment unless he can demonstrate that his
        default was the product of mistake, inadvertence, surprise, or excusable neglect.
        It is only when the defendant can carry this burden that he will be permitted to
        demonstrate that he can also satisfy the other two factors: the existence of a
        meritorious defense and the absence of substantial prejudice to the plaintiff
        should relief be granted.

Waifersong, Ltd. Inc. v. Classic Music Vending, 976 F.2d 290, 292 (6th Cir. 1992) (footnote

omitted).

        A party cannot simply ignore its obligation to file responsive pleadings. Where a party

ignores its obligation to file a responsive pleading, as the defendants have done here, the

4
 Because the willful nature of the defendants’ conduct is a threshold question, plaintiffs do not address here the
remaining two considerations. However, such assessment is provided infra, in regard to Rule 55(c), and a
balancing of all three considerations likewise supports upholding the default judgments.


                                                        12
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 18 of 28




resulting defaults are willful. Marziliano v. Heckler, 728 F.2d 151 (2d Cir. 1984); Brown v.

DeFilippis, 695 F. Supp. 1528 (S.D.N.Y. 1988). Lack of diligence or mere carelessness on the

part of the defendants or their counsel is not sufficient cause to set aside a default. Aberson v.

Glassman, 70 F.R.D. 683 (S.D.N.Y. 1976).

       Here, notwithstanding plaintiffs’ counsels’ willingness to consider the defendants’

explanations as to why they never responded to the complaints, the defendants have

steadfastly refused to offer any credible explanation for their failure to file any responsive

pleadings; instead, they reason that the default judgments must be set aside because, they

claim, incredibly and without support, they never knew about the litigation.

       The defendants have carefully and consistently glossed over so many important facts

that, when considered both separately and together, demonstrate that the defendants have not

met the burden necessary to set aside the default judgments. Even though plaintiffs’ counsel

offered the opportunity to explain, the defendants have refused to explain how they could

possibly be unaware of litigation filed against them despite the local, national, and

international notoriety of the litigation – which, in the case of Burnett, was filed initially in

Washington, D.C., only miles from the defendants’ residences and/or businesses. They have

refused to explain how they could be unaware of the litigation despite their overlapping and

intertwining connections with at least twelve other defendants sued in the lawsuit, and at least

nine of whom are represented by the same law firm. They have refused to explain how this

lack of awareness could exist despite the fact that their residences and/or the multiple

companies with whom they are affiliated, and the mosque where they likely worship, are all

places that they were likely to have heard news of the litigation during the course of the time



                                                 13
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 19 of 28




that the litigation has been pending. Yet both defendants would have this court accept their

simple, unsupported, statements that they did not know about the law suit.

       Defendants have likewise never explained their seven month delay between the time

they first approached Plaintiffs’ counsel – when they unquestionably knew of the defaults –

and when they ultimately filed their motion. Even if the defendants had adequately explained

why they had delayed in filing a responsive pleading before the defaults were filed (which they

have not done), once they learned of the default judgments they had an obligation to file their

motions to vacate promptly within a reasonable time. Their unexplained seven month delay

was not reasonable. See Sony Corp. v. S.W.I. Trading, Inc., 104 F.R.D. 535, 541-542 (S.D.N.Y.

1985) (denying defendant's motion to vacate in its entirety, noting that "Rule 60(b) motions

must be brought within a reasonable time" and finding that a one month delay was not

reasonable); see also General Contracting and Trading Co. LLC v. Interpole, Inc., 899 F.2d 109,

112 (1st Cir. 1990) (affirming default judgment where appellant "waited approximately three

and one-half months" between discovery of the default and asking the court for relief); Maine

National Bank v. F/V Explorer, 663 F. Supp. 462, 466 (D. Me. 1987) (denying the defendant's

motion to vacate a default judgment where the defendant's delay of six weeks in seeking relief

from the judgment did not constitute "reasonably prompt" action); Zuelzke Tool &

Engineering Co. v. Anderson Die Castings Inc., 129 F.R.D. 532, 534 (E.D. Wis. 1990), affirmed

925 F.2d 226 (denying motion to vacate default judgment where the defendant failed to

undertake prompt action to vacate the default; default judgment was entered on July 5, 1989

and defendant was aware of the judgment by at least late July 1989 but the motion to vacate

was not filed until November 29, 1989, four months later).



                                               14
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 20 of 28




         The defendants’ empty “rationales” and lack of explanation for ignoring their

obligations to file either their responsive pleadings or their request for court relief hardly

constitute “excusable neglect,” see State Street Bank and Trust Co. v. Inversiones Errazuriz,

Limitada, 374 F.3d 158, 178 (2d Cir. 2004) (where a party fails to act with diligence, he will be

unable to demonstrate that his conduct constituted “excusable neglect”), and standing by

themselves warrant upholding the default judgments. Id. (“when a party demonstrates lack of

diligence in defending a lawsuit, a court need not set aside a default judgment.”).5

         Given these facts, plaintiffs raise concern that the defendants and their counsel are

engaging in tactical maneuvering to drag out the litigation unnecessarily and cause the

plaintiffs irreparable prejudice. If each of the many defendants in default are permitted to

ignore the litigation and then set aside the default judgments against them simply by baldly

claiming they were unaware they had been sued, then the host of defendants who have

ignored this litigation could theoretically extend almost endlessly the process of filing motions

to vacate defaults, motions to dismiss, and only after those had been resolved, Answers. Such

tactical maneuvering to avoid responding to plaintiffs’ complaints is willful and intentional

conduct and cannot be considered “excusable neglect.” New York v. Green, 420 F.3d 99 (2d

Cir. 2005); In re Suprema Specialties, 330 B.R. 40, 52-53; U. S. v. 1,550.44 Acres of Land, More or

Less, in McLean County, State of N. D., 369 F.Supp. 1078 (N.D. 1974).



5
  See also In re Wright, 247 F.Supp. 648 (E.D. Mo. 1965) (carelessness, negligence, or ignorance of rules of
procedure do not constitute "excusable neglect" within this rule); cf. Lavespere v. Niagara Mach. & Tool Works,
Inc., 910 F.2d 167 (5th Cir. 1990), reh’g denied, 920 F.2d 259, cert. denied, 510 U.S. 859 (abuse of discretion to
reopen case on basis of excusable neglect where moving party failed to submit evidence because of negligence or
carelessness).




                                                         15
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 21 of 28




       B.      The default judgments entered against defendant should not be set aside
               based on Rule 55(c).

       Rule 55(a), which provides that a default may be entered against a party against whom

judgment for affirmative relief is sought who “has failed to plead or otherwise defend,” also

provides that the court may set aside a default “[f]or good cause shown.” Fed. R. Civ. P. 55(c).

Although Rule 55(c) does not define “good cause,” the Second Circuit has established the same

three criteria described above in regard to Rule 60 as the criteria to be analyzed in deciding

whether to set aside entry of default – namely, whether the default was willful; whether

defendant has presented a meritorious defense; and whether the non-defaulting party will be

prejudiced if the default is set aside. Marziliano v. Heckler, 728 F.2d 151, 156 (2d Cir. 1984).

Though the factors are the same, they are applied less rigorously in the case of defaults. Enron

Oil Corp. v. Diahuhara, 10 F.3d 90, 96 (2d Cir. 1993).

               1.     Willfulness

       Defendants’ conduct in ignoring plaintiffs’ complaints resulting in the defaults being

entered was willful and the analysis of defendants’ willfulness is the same as the analysis

provided above in regard to Rule 60.

               2.     Prejudice

       Defendants give short shrift to the prejudice plaintiffs may suffer from setting aside the

defaults. Prejudice from setting aside defaults results when, for example, the delay may result

in loss of evidence or create difficulties of discovery. Davis v. Musler, 713 F.2d 907, 916

(S.D.N.Y. 1983). In this litigation, involving many defendants, many of whom are also in

default; substantial motions practice; substantial international discovery, and many novel




                                                16
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 22 of 28




issues, the court should consider the potential for both individual and collective delay that

may prejudice plaintiffs.

        Defendants’ refusals to file timely responses, which resulted in their default, would

cause plaintiffs prejudice if the defaults are vacated because the plaintiffs will risk being unable

to obtain discovery lost or unrecoverable due to the delay. As is plainly evident to all familiar

with this litigation, the precipitating events happened in September of 2001, now well over

five years ago. Many of the allegations involve inquiry into defendants’ conduct dating back

to years preceding the September 11, 2001 terrorist attacks. The delay caused by defendants’

conduct leading to their default places at risk plaintiffs’ ability to collect important facts to

develop the factual mosaic underlying plaintiffs’ claims. At the very least, as the documents

become more remote in time, they become more difficult – or impossible – for the plaintiffs

to collect, either because of document retention policies or simply because of shear age.

        Defendants ignore the real prejudice caused by the collective delay that would result

were the court were to condone similar conduct by each defendant. In this litigation, which is

already several years old and has seen substantial motion practice, including a number of

outstanding motions demanding the Court’s attention, and where perhaps more than any

other litigation, discovery from the various defendants is crucial to piecing together the

interconnections among the defendants to develop the full mosaic the individual pieces create,

each additional delay caused by each defendants’ dilatory conduct becomes more prejudicial to

the plaintiffs’ efforts both to conduct and collect discovery, and to press for a resolution of the

plaintiffs’ claims.




                                                 17
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 23 of 28




              3.      Existence of Meritorious Defenses

       Though plaintiffs do not concede the merits of defendants’ defenses, plaintiffs

recognize that defendant has alleged such claims and need not actually establish that they will

prevail on them. Plaintiffs are nonetheless compelled to call the Court’s attention to the fact

that the Court has already rejected one defendant’s similar argument that service by

publication was not proper. In rejecting Defendant Adel Batterjee’s argument that he had not

been served because service had been by publication, this Court held:

       Plaintiffs reasoned that Al-Quds Al-Arabia had published Osama bin Laden’s
       fatwas in the past and could, therefore, reach his supporters regardless of their
       location. Further, the International Herald Tribune is available to the world
       community. Additionally, Plaintiffs submit that these cases have been widely
       reported in the Arabic media and the complaints have been available on
       numerous websites for over two years. In light of these considerations and
       Judge Robertson’s March 23, 2003, order approving service by publication for
       Defendants including Mr. Batterjee, the Court denies Mr. Batterjee’s motion to
       quash service.

In re Terrorist Attacks on September 11, 2001, 349 F.Supp.2d 765, 824-825 (S.D.N.Y. 2005).

       After the transfer and consolidation of these cases before this Court, the Plaintiffs

requested, and this Court granted, an Order authorizing Plaintiffs to effectuate service by

publication on defendants specified in the accompanying attachment “for whom an address or

location to serve the Summons and Complaint is unknown and cannot be ascertained through

reasonable means or was attempted or rejected or otherwise not responded to at an address

that was discovered,” MDL 1570 Docket No. 445. The Order required publication in three

newspapers calculated to provide adequate notice to each of the defendants – namely, USA

Today, the International Herald Tribune, and Al-Quds Al-Arabi. In addition to the USA Today



                                               18
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 24 of 28




being widely available in the United States, the story of this lawsuit being filed was picked up

by many other media outlets in the United States. Al-Quds Al-Arabi has published several

fatwas by Osama bin Laden and is therefore reasonably calculated to reach his supporters,

regardless of where they live. Similarly, the International Herald Tribune is distributed in the

world community, of which the defendants and their wide business interests are a part. See

Haefele Dec. at ¶ 15.

       By granting Plaintiffs’ request on September 15, 2004, this Court in effect found that it

was appropriate for the Plaintiffs to serve the Defendants on the accompanying attachment by

publication. Defendants Salim and Sulayman were among those listed to be served by

publication and thus were among those whom the Court found could be properly served by

this method. See MDL 1570 Docket No.445. Plaintiffs served both defendants Salah and

Sulayman by publication in compliance with the Court’s Order of September 15, 2004. See

Haefele Dec. at ¶ 15.

       The proper question is whether the publication in USA Today, the International Herald

Tribune, and Al-Quds Al-Arabi was “reasonably calculated” to notify the defendants of the suit

against them. Justice Jackson summed up this point when he wrote:

       An elementary and fundamental requirement of due process in any proceeding which
       is to be accorded finality is notice reasonably calculated, under all the circumstances, to
       apprise interested parties of the pendency of the action and afford them an
       opportunity to present their objections. Milliken v. Meyer, 311 U.S. 457 (1940);
       Grannis v. Ordean, 234 U.S. 385; Priest v. Board of Trustees of Town of Las Vegas, 232
       U.S. 604 (1914); Roller v. Holly, 176 U.S. 398 (1900). The notice must be of such
       nature as reasonable to convey the required information, Grannis v. Ordean, supra, and
       it must afford a reasonable time for those interested to make their appearance, Roller v.
       Holly, supra, and cf. Goodrich v. Ferris, 214 U.S. 71 (1909). But if with due regard for
       the practicalities and peculiarities of the case these conditions are reasonably met, the
       constitutional requirements are satisfied. ‘The criterion is not the possibility of
       conceivable injury but the just and reasonable character of the requirements, having


                                               19
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 25 of 28




       reference to the subject with which the statute deals.’ American Land Co. v. Zeiss, 219
       U.S. 47, 67 (1911); and see Blinn v. Nelson, 222 U.S. 1, 7 (1911).

Mullane v. Central Hanover Tr. Co., 339 U.S. 306, 314 (1950).

       The Second Circuit stated in S.E.C. v. Tome, 833 F.2d 1086, 1089 (2d Cir. 1987):

       To submit a party to the jurisdiction of a court, due process has long been held
       to require the giving of notice in such a manner that there can be little doubt
       that the party has actual notice of the claims in order to appear and defend.

       Just as this Court found as to Mr. Batterjee, it is clear here that notice by publication

satisfied the requirements of the federal rules and of due process, because publication was

pursuant to the Court’s order, both defendants were among those who the notice was

reasonably calculated to reach, and the news of the litigation was unquestionably widespread

both generally and within the defendants’ community.

       Notice by publication is designed to impart information about a lawsuit; nothing

requires the target of the notice to gain the information directly from reading the notice

himself, as opposed to someone else telling him about the notice. Without question, the

notice in this case accomplished the goal of providing ample notice of the instant action, to

which there is public access. The plaintiffs’ complaints have been available on numerous

websites in numerous languages, including Arabic, for several years. Plaintiffs have uncovered

dozens of articles that have been published both in English and in the Arabic media

specifically discussing the on-going litigation before this Court, including detailed reports of

this Court’s Opinions and Orders, named defendants, and other recent developments.

Indeed, these English and Arabic media reports provide an additional channel for the

defendants and others to become apprised of the lawsuit against them.




                                                20
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 26 of 28




       Defendant Salah’s argument that because he lives in the United State the Court’s order

did not permit service upon him by publication ignores much of the terms of the Court’s

order. The order not only applied to defendants upon whom service by publication was

permitted both in the United States and elsewhere but it also specifically contained his name

as one of the individuals for whom service by publication was permitted. His contention that

he was amenable to ordinary service is belied by the fact that MDL plaintiffs counsel all had

difficulty serving Mr. Salah, first because counsel had no address for him and then later

because when service was attempted it was returned. Indeed, in a letter to the Court, dated

April 15, 2004, Andrew Maloney, plaintiffs’ counsel in the Ashton case, provided a status

report of service efforts by the MDL plaintiffs and explained that service packages were being

sent to a number of defendants, including Salah (all MDL counsel of record were copied on

that letter). That service package was eventually returned unopened, as well as a similar

service package to defendant Taibah International Aid Association at the same address. See

Haefele Dec. at ¶ 16.

       Finally, Plaintiffs emphasize the problem of permitting each defendant to approach the

court with barren assertions that they were unaware of litigation filed against them because

they never read the notice provided by court ordered publication. If each of these defendants

is permitted to question the court’s authority to permit notice by publication, then every

other defendant served similarly may likewise question such notice. Under the circumstances

– particularly where notice was reasonably calculated to reach these defendants – the Court

should reject defendants’ arguments to the contrary.




                                               21
    Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 27 of 28




                                        CONCLUSION

       For the foregoing reasons, plaintiffs respectfully request that the defendants’ motion to

set aside the default judgments be denied.


Dated: March 16, 2007                Respectfully Submitted,


                                     /s/_________________________
                                     Ronald L. Motley, Esquire (SC Bar No. 4123)
                                     Jodi Westbrook Flowers, Esquire (SC Bar No. 66300)
                                     Donald Migliori, Esquire (RI Bar No. 4936; MA Bar No. 567562;
                                         MN Bar No. 0245951)
                                     Robert T. Haefele, Esquire (SC Bar No. 75266; NJ Bar No.
                                         58293; PA Bar No. 57937)
                                     Michael E. Elsner, Esquire (ME-8337)
                                     Justin B. Kaplan, Esquire (TN Bar No. 022145)
                                     MOTLEY RICE LLC
                                     28 Bridgeside Boulevard
                                     Mount Pleasant, SC 29465
                                     Telephone: (843) 216-9000
                                     Fax (843) 216-9450
                                      - and -
                                     Jayne Conroy, Esquire (JC-8611)
                                     Paul J. Hanly, Jr., Esquire (PH-5486)
                                     Andrea Bierstein, Esquire (AB-4618)
                                     HANLY CONROY BIERSTEIN & SHERIDAN LLP
                                     112 Madison Avenue
                                     New York, NY 10016-7416
                                     Telephone: (212) 784-6400
                                     Fax: (212) 784-6420205

                                     Counsel for the Burnett, WTCP and EuroBrokers Plaintiffs

                                      - and -

                                     /s/_________________________
                                     Sean Carter, Esquire
                                     J. Scott Tarbutton, Esq. (JT-3496)
                                     COZEN O’CONNOR PC
                                     1900 Market Street
                                     Philadelphia, PA 19103-3508


                                                22
   Case 1:03-md-01570-GBD-SN Document 1962 Filed 03/17/07 Page 28 of 28




                                   Telephone: (215) 665-2105
                                   Fax (215) 701-2105

                                   Counsel for the Federal Insurance Plaintiffs


                                CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true copy of the foregoing Opposition to Defendants’ Motion to
Vacate Judgment By Default was served via electronic case filing on this 17th day of March,
2007, upon all parties scheduled for electronic notice, including the following:

Steven K. Barentzen, Esq.
DLA PIPER RUDNICK GRAY CARY US LLP
1200 19th Street, N.W.
7th Floor
Washington, DC 20036-2412
Attorney for Defendants Samir Salah and
       Abdul Hamid Abu Sulayman

                                   /s/ Robert T. Haefele_____
                                   Robert T. Haefele (SC Bar No. 75266; NJ Bar No. 58293;
                                   PA Bar No. 57937)




                                             23
